   Case: 22-11036    Document: 89         Page: 1   Date Filed: 05/12/2023




                              No. 22-11036
          ________________________________________________________


                           In the
            UNITED STATES COURT OF APPEALS
                    For the Fifth Circuit
          ________________________________________________________

       In the Matter of Highland Capital Management, L.P.,
                                                        Debtor.
The Charitable DAF Fund L.P.; CLO Holdco, Limited; Mark Patrick;
  Sbaiti & Company, P.L.L.C.; Mazin A. Sbaiti; Jonathan Bridges,
                                                       Appellants,
                                     v.
                Highland Capital Management, L.P.,
                                                        Appellee.
          ________________________________________________________

       In the Matter of Highland Capital Management, L.P.,
                                                        Debtor.
                                James Dondero,
                                                        Appellant,
                                     v.
                Highland Capital Management, L.P.,
                                                        Appellee.
           _______________________________________________________

          Appeal from the United States District Court
        For the Northern District of Texas, Dallas Division
        Honorable Brantley Starr, United States District Judge
                       No. 3:21-cv-01974-X
           _______________________________________________________

       REPLY BRIEF OF APPELLANT JAMES DONDERO
           _______________________________________________________
Case: 22-11036   Document: 89   Page: 2   Date Filed: 05/12/2023




                           Jeffrey S. Levinger
                           jlevinger@levingerpc.com
                           J. Carl Cecere (of counsel)
                           ccecere@cecerepc.com
                           Levinger PC
                           1700 Pacific Ave., Suite 2390
                           Dallas, Texas 75201
                           Telephone: 214-855-6817
                           Facsimile: 214-817-4509

                           Attorneys for Appellant
                           James Dondero
            Case: 22-11036              Document: 89              Page: 3      Date Filed: 05/12/2023




                                             TABLE OF CONTENTS

Table of Authorities ..................................................................................................iv
Introduction and Summary of the Argument ............................................................. 1
Arguments in Reply ...................................................................................................2

I.       Dondero never received the notice that Due Process requires before
         being sanctioned for contempt......................................................................... 2

                    Dondero had no reason to believe he fell within the class of
                    “Violators” in the Bankruptcy Court’s show-cause order who
                    faced potential contempt sanctions. .....................................................3

                    Dondero never admitted to receiving adequate notice. .......................7
II.      Dondero did not violate the gatekeeping order. ............................................10
III.     The amount of the sanction is excessive and impermissible. ........................17
Conclusion ...............................................................................................................21

Certificate of Service ...............................................................................................22

Certificate Regarding Privacy Redactions and Virus Scanning ..............................22

Certificate of Compliance With Type-Volume Limit .............................................23




                                                            iii
           Case: 22-11036             Document: 89             Page: 4       Date Filed: 05/12/2023




                                          TABLE OF AUTHORITIES

Cases
Alberti v. Klevenhagen,
  46 F.3d 1347 (5th Cir. 1995) ............................................................................9, 18

Clark v. Boyunton,
  362 F.2d 992 (5th Cir. 1966) ................................................................................18
Dole Fresh Fruit Co. v. United Banana Co.,
 821 F.2d 106 (2d Cir. 1987) ...................................................................................9

M.D. v. Abbot,
 509 F. Supp. 3d 683 (S.D. Tex. 2020) ...................................................................7

Payne v. University of Southern Mississippi,
  661 F. App’x 384 (5th Cir. 2017) ........................................................................20
Ravango Americas L.L.C. v. Vinmar Int’l Ltd.,
  832 F. App’x 249 (5th Cir. 2020) (per curiam) ...................................................17
Wegner v. Standard Ins. Co.,
 129 F.3d 814 (5th Cir. 1997) ......................................................................... 19, 20
Rules

FED. R. CIV. P. 65 .............................................................................................. 11, 12
FED. R. CIV. P. 65(d)(2)(A) ......................................................................... 10, 11, 12

FED. R. CIV. P. 65(d)(2)(B) ............................................................................... 11, 12
FED. R. CIV. P. 65(d)(2)(C) ............................................................................... 11, 12




                                                          iv
        Case: 22-11036    Document: 89       Page: 5   Date Filed: 05/12/2023




               INTRODUCTION AND SUMMARY OF THE ARGUMENT

      Dondero files this reply brief for a limited purpose. He does not intend to

respond to every argument Highland raises in its brief, the majority of which are

amply addressed in the DAF Appellants’ reply brief, which Dondero adopts and

incorporates by reference. And unlike the DAF Appellants’ reply, which explains

why the contempt order and sanction award cannot be upheld against any of the

appellants, Dondero’s reply will focus on the unique reasons the order and award

cannot be upheld against him.

      The first of these is the Bankruptcy Court’s failure to give Dondero proper

notice that he might be subject to contempt sanctions. Both Highland’s motion for

contempt and the Bankruptcy Court’s show-cause order gave notice that only a

certain defined group of people and entities were at risk of contempt—the

“Violators.” Dondero was not among the Violators, so he received no notice. And

Highland cannot suggest otherwise without mischaracterizing the show-cause order

and improperly twisting Dondero’s multiple objections to his lack of notice into

some kind of concession that proper notice was given.

      Highland similarly fails to demonstrate that Dondero was even subject to the

gatekeeping order, much less that he violated it. The gatekeeping order applies to

“entities”—not all “parties”—and Dondero is neither an entity nor a party. Highland

also presents no evidence that Dondero took any action to “commence” or “pursue”


                                         1
        Case: 22-11036      Document: 89       Page: 6   Date Filed: 05/12/2023




any claim against Seery in violation of the gatekeeping order. Instead, the evidence

is conclusive that the only matter Dondero could have “commenced” or “pursued”

was the initial complaint against Highland, which did not violate the gatekeeping

order and was not the basis for Highland’s contempt motion.

      Highland likewise fails to overcome the numerous flaws in the $239,655

sanctions award itself. It concedes that it suffered no pecuniary loss from any

violation of the gatekeeping order. And it never denies that the amount awarded

vastly exceeds the fees necessarily incurred to bring that alleged violation to the

court’s attention, or that it expended the excess in a vindictive and ultimately

fruitless effort to prove Dondero was part of that supposed violation. That made the

award wildly excessive, impermissibly punitive, and completely unreasonable. For

all these reasons, it must be reversed.

                               ARGUMENTS IN REPLY
I.    Dondero never received the notice that Due Process requires before being
      sanctioned for contempt.
      Highland’s effort to uphold the contempt sanction against Dondero is

ultimately futile, because try as it might, it cannot demonstrate that Dondero received

the notice that Due Process requires before a contempt sanction can be imposed.




                                           2
        Case: 22-11036     Document: 89       Page: 7   Date Filed: 05/12/2023




             Dondero had no reason to believe he fell within the class of
             “Violators” in the Bankruptcy Court’s show-cause order who faced
             potential contempt sanctions.

      Highland first contends that Dondero received adequate notice through the

Bankruptcy Court’s show-cause order, claiming it provides “indisputable evidence”

of Dondero’s awareness that he might be subject to contempt sanctions. (Highland

Br. 42) But that contention requires Highland to mischaracterize what the show-

cause order actually says. And it is worth reviewing the actual language of that order

to understand the depths of Highland’s mischaracterization.

      As Dondero has explained in his opening brief (Dondero Br. 6-7, 21), the

show-cause order adopted the meaning ascribed to various capitalized terms from

Highland’s contempt pleadings—specifically, from the memorandum of law

supporting its motion for contempt:



(ROA.2584) And that memorandum of law sought sanctions from a specifically

designated class of entities and persons, grouped together under the capitalized term

“Violators”—“The DAF,” “CLO Holdco,” “Sbaiti & Co.,” and “the persons who

authorized The DAF and CLO Holdco” to file the Seery Motion:




                                          3
        Case: 22-11036    Document: 89       Page: 8   Date Filed: 05/12/2023




(ROA.1776, highlighting added)

      The Bankruptcy Court made clear in its show-cause order that only the

“Violators”—as that term was defined in Highland’s memorandum of law—were at

risk of being held in contempt and sanctioned:




(ROA.2585, highlighting added)


                                         4
        Case: 22-11036     Document: 89       Page: 9   Date Filed: 05/12/2023




      The Bankruptcy Court’s adoption of Highland’s term “Violators” therefore

made clear that Dondero faced no risk of a contempt sanction because he did not fit

within the category of “Violators” against whom contempt sanctions would be

sought. He was not among the entities specifically listed in Highland’s

memorandum—The DAF, CLO Holdco, and Sbaiti & Co. And as Dondero has

demonstrated (Dondero Br. 9-10, 15, 19) and Highland now admits (Highland Br.

16), Dondero could not be a person “who authorized” the filing of the Seery Motion.

Only Mark Patrick could.

      But the Bankruptcy Court went even further in making clear that Dondero was

not among “the Violators” at risk of a contempt sanction. In the portion of the

passage above listing those who must appear at the contempt hearing, the

Bankruptcy Court placed Dondero in his own category (subcategory (v)), separate

from The DAF, CLO Holdco., and Sbaiti & Co. (who were listed in subcategories

(i)-(iii)) and from “those persons who authorized” the filing of the Seery Motion (as

set forth in subcategory (iv)). That made it unmistakably clear that while Dondero

was “personally identified” in the show-cause order and directed to appear at the

contempt hearing (Highland Br. 42), he was not named as a potential contemnor.

Instead, he was asked to appear solely as a witness as to whether the Violators should

be held in contempt.




                                          5
        Case: 22-11036      Document: 89       Page: 10   Date Filed: 05/12/2023




      Highland cannot explain how the show-cause order’s plain language can be

interpreted otherwise. Indeed, it does not even try. While Highland insists several

times that the order included Dondero as among those who were at risk of contempt,

it resolutely refuses to square that interpretation with the actual language of the order

and its use of the defined term “Violators” that unambiguously excludes Dondero.

(Highland Br. 4, 14, 42) At first Highland does not quote the show-cause order at

all, simply insisting that it included Dondero among the potential contemnors. (Id.

4, contending that the order required Dondero to appear to explain “why he should

not be held in contempt of court,” emphasis added); (id. 14, contending that

Dondero, along with the others actually defined as “Violators,” were ordered by the

Bankruptcy Court “to show cause why they should not be held in contempt,”

emphasis added) Then, the only time Highland actually quotes from the order, it

does so selectively, to omit any mention of the defined term “Violator”—replacing

it with a new undefined term “identified parties.” (See id. 42, contending that the

show-cause order “directed ‘James Dondero’ and others to ‘appear in-person before

this Court and show cause why an order should not be granted’ holding the identified

parties in contempt,” quoting ROA.2585, emphasis added) And then for good

measure, Highland quotes the District Court’s own mischaracterization of the show-

cause order, in which the District Court mistakenly swapped the lower-case term

“violators” for the proper capitalized term “Violator” (id. 42 n.27), despite


                                           6
       Case: 22-11036     Document: 89       Page: 11   Date Filed: 05/12/2023




recognizing that the latter term was adopted from Highland’s contempt pleadings

(Dondero Br. 21, quoting ROA.12277-78).

      Not once does Highland acknowledge that the show-cause order adopted the

term “Violators”—even though Highland itself coined the term and specifically

identified who was encompassed within it. And not once does Highland try to

explain how Dondero might fall within any of the categories encompassed within

that defined term. Accordingly, Highland’s selective quotations and interpretive

gloss fall flat in suggesting that the show-cause order gave Dondero notice that he

was among those “who might be held in contempt.” (Highland Br. 42-43, citing M.D.

v. Abbot, 509 F. Supp. 3d 683 (S.D. Tex. 2020))

            Dondero never admitted to receiving adequate notice.
      Nor can Highland demonstrate that Dondero received adequate notice that he

might be subject to a potential contempt sanction through his repeated efforts to

object that he had been given no notice of any such sanction. (Highland Br. 43)

Highland acknowledges that Dondero filed a written “objection” to the contempt

motion (id.), in which Dondero argued that he “was not included in the Debtor’s

motion or proposed order,” and “object[ed] to any implication” that he had been

named by the Bankruptcy Court “as an alleged or implied violator” (Dondero Br.

22, quoting ROA.2620). Highland likewise acknowledges that Dondero’s counsel

re-urged these objections at the contempt hearing, insisting that Dondero was not a



                                         7
       Case: 22-11036     Document: 89       Page: 12   Date Filed: 05/12/2023




“control or authorizing person” and thus did not fall within the category of

“Violators” covered by Highland’s contempt pleadings or the show-cause order.

(Highland Br. 43 n.28; Dondero Br. 22 n.1 quoting ROA.12278) Indeed, Highland

even acknowledges that Dondero’s counsel was “disputing Dondero’s role”

throughout the contempt hearing—and objecting to any notion that Dondero was

appearing in any capacity other than as a witness. (Highland Br. 43) And Highland

nowhere contends that these repeated objections were insufficient to communicate

Dondero’s belief that he had not received proper notice and to preserve his Due

Process challenge to the Bankruptcy Court’s failure to name Dondero in its show-

cause order.

      Instead, Highland (like the District Court) focuses on a pair of isolated

statements that Dondero’s counsel made at the contempt hearing—plucked entirely

out of context—to suggest that Dondero admitted he was an “alleged violator”

within the meaning of Highland’s contempt motion or the Bankruptcy Court’s show-

cause order. (Highland Br. 43) But these isolated statements are meaningless.

Dondero had not been named as an “alleged violator.” And even if his counsel made

statements during the hearing that might suggest otherwise, these isolated instances

of inartful phrasing during the heat of a contested hearing cannot overcome the

numerous, repeated, and express objections Dondero and his counsel raised before,




                                         8
          Case: 22-11036    Document: 89        Page: 13   Date Filed: 05/12/2023




during, and after the contempt hearing in which he insisted he had not been named

as a “Violator.” Highland raises no argument why they should. 1

      Accordingly, there is no question that (1) Dondero clearly and adequately

challenged the fact that he had not been given sufficient notice in either Highland’s

motion for contempt or the show-cause order that he might be subject to contempt;

and (2) he unquestionably appeared at the hearing only as a witness and under

protest. That distinguishes Highland’s sole authority, Alberti v. Klevenhagen, 46

F.3d 1347, 1360 (5th Cir. 1995), in which the sanctioned party never challenged

whether it had been given adequate notice of a potential sanction, and instead filed

pleadings and appeared at a hearing on the proposed sanction without protest—only

later challenging whether it had been given an adequate opportunity to be heard.

      Rather, this case is directly analogous to Dondero’s authorities (Dondero Br.

19-21), especially Dole Fresh Fruit Co. v. United Banana Co., 821 F.2d 106 (2d Cir.

1987), in which the Second Circuit invalidated a contempt sanction despite the

sanctioned party’s appearance and participation as a witness at the contempt hearing,

because that appearance could not cure the fatal Due Process problems that resulted




      1
         Nor, for that matter, can Dondero’s numerous protests about the lack of notice be
overcome by the fact that his written objection adopted the arguments made by the
Violators in their separate response to the contempt motion. (Highland Br. 43 n.28) The
fact that Dondero raised substantive arguments to defend himself at the contempt hearing
does not change the fact that he raised those arguments under protest.


                                            9
        Case: 22-11036      Document: 89     Page: 14    Date Filed: 05/12/2023




from the fact that the party had not been named in either a motion for contempt or a

show-cause order. And that is the same result the Court should reach here. For that

reason alone, the contempt sanction against Dondero cannot stand.

II.   Dondero did not violate the gatekeeping order.

      Highland has also failed to demonstrate that Dondero committed any violation

of the gatekeeping order that would justify the Bankruptcy Court’s imposition of

contempt sanctions against him. Highland’s first problem is that the gatekeeping

order does not even govern Dondero’s conduct, because the order’s prohibition

against “commenc[ing] or pursu[ing]” a claim against Seery extends only to an

“entity.” (Dondero Br. 4, quoting ROA.1172) But Dondero is an individual, not an

entity. And Highland’s attempt to bring Dondero within the gatekeeping order’s

terms forces it to once again misconstrue the terms of that order.

      Highland contends that the gatekeeping order extends to Dondero as “a party,”

insisting that the order’s textual limitation to “entities” is overridden by FED. R. CIV.

P. 65(d)(2)(A), which provides that an injunction “binds” the “parties.” (Highland

Br. 45) But that contention contains a two-fold error. For one thing, Highland is

wrong: Dondero is not a “party” to the gatekeeping order because he was not named

as a defendant in the bankruptcy proceeding from which the order arose. The only

“party” to that proceeding was the Debtor, Highland Capital Management, L.P.




                                           10
        Case: 22-11036     Document: 89     Page: 15    Date Filed: 05/12/2023




(ROA.1171-72) Indeed, Dondero was not even named in the order itself. Highland’s

argument fails for that reason alone.

       Highland also misunderstands the basic meaning and purpose of Rule 65. That

rule defines the outer boundaries of an injunction’s enforceable power, providing

that an injunction can bind others beyond the parties to the proceeding in which the

injunction was granted to include their “officers, agents, servants, employees, and

attorneys,” and others “who are in active concert and participation” with them. FED.

R. CIV. P. 65(d)(2)(A)-(C). But the mere fact that an injunction can bind all parties

to a proceeding does not mean that any particular injunction will impose duties on

all parties. Courts do not always exercise the full extent of the power Rule 65 grants

to them. Some injunctions, like the gatekeeping order, only name certain parties—

or a particular category of parties. And the duties imposed by such limited

injunctions run only to the parties so named. Highland provides no authority to

suggest that the duties imposed in an injunction will be enforceable against unnamed

parties, and no authority to support the notion that those duties would be enforceable

against unnamed non-parties like Dondero—a proposition that would extend the

reach of every injunction to every person in the world. Indeed, the very idea that the

obligations the gatekeeping order imposed on “entities” can be enforced against non-

entities is nonsensical, defeating the very purpose of naming those particular entities

in the first place.


                                          11
       Case: 22-11036     Document: 89    Page: 16   Date Filed: 05/12/2023




      In the end, none of the provisions of Rule 65 extend the gatekeeping order’s

reach to include Dondero. He is not a “party” covered under Rule 65(d)(2)(A). Nor

is he covered under Rule 65(d)(2)(B) as an officer, agent, servant, or employee of

any of the “entities” at issue in this case—Highland, the DAF, DLO Holdco, and

Sbaiti & Company. Indeed, Highland acknowledges that Dondero is not an “agent”

of those entities at all—serving merely as the DAF’s “informal investment advisor.”

(Highland Br. 10 n.4, 16 n.11) And as Dondero has already explained—and

Highland does not dispute—Dondero did not “act in concert or participation” with

those entities so as to be covered under Rule 65(d)(2)(C). (See Dondero Br. 25 n.2)

Accordingly, there is no basis to conclude that Dondero is covered by the

gatekeeping order. And that alone requires the contempt sanction against him to be

reversed.

      Yet even if the gatekeeping order did apply to Dondero, there is no evidence—

much less clear and convincing evidence—that he violated that order, because he

neither “commenced” nor “pursued” any claim against Seery. Until now, no one—

including the Bankruptcy Court, the District Court, and Highland itself—has

contended that Appellants ever “commenced” any claim against Seery, because they

never actually started a lawsuit against him. And while Highland now waffles on

that stance, suggesting that Appellants “effectively commenced … an action” against

Seery (Highland Br. 23, emphasis added), that waffling ultimately amounts to


                                         12
          Case: 22-11036     Document: 89    Page: 17    Date Filed: 05/12/2023




nothing, because Highland does not seriously contend that “effectively”

commencing an action is the same as actually commencing one, or that Appellants

could be sanctioned for purportedly “commencing” an action that was never actually

filed.

         Dondero did not “pursue” any claim against Seery either. There has been

much dispute about the meaning of that term in this case. Like the DAF Appellants,

Dondero contends that to “pursue a claim” means to “prosecute or sue,” or to “carry

it out or follow it,” and therefore only refers to efforts to prosecute a claim occurring

after a suit has already been commenced. (Dondero Br. 25) And because no suit

against Seery ever commenced, no action was then “pursued.” By contrast, the

District Court adopted a broader definition of the term “pursue,” holding that it

means “trying,” and therefore could refer to efforts to pursue a claim that stop short

of actually commencing an action. (Id. 26, quoting ROA.12260-61) But as Dondero

has demonstrated, his and the DAF Appellants’ reading is the only contextually and

logically appropriate one. (Id. 26-27)

         Highland offers nothing in response except to suggest that Appellants’ reading

of the term renders it “superfluous.” (Highland Br. 23) Not so. As Dondero has

explained, it makes perfect sense, and is not at all redundant, for the Bankruptcy

Court to prohibit “commencing” a claim separately from “pursuing” it after

commencing it—after all, the expenses incurred by a defendant during litigation are


                                            13
          Case: 22-11036     Document: 89    Page: 18    Date Filed: 05/12/2023




often far greater than the expenses the defendant incurs in merely responding to the

commencement of a lawsuit.

         Accordingly, Appellants’ reading of the gatekeeping order is entirely logical,

and preserves the gatekeeping order’s basic purpose of protecting Highland and

Seery from the distraction and expense of “baseless” litigation. (Highland Br. 7) By

contrast, the meaning of “pursue” the District Court adopted makes far less sense—

because a defendant rarely incurs any expenses before the plaintiff commences a

lawsuit, so there is no reason that such pre-commencement actions should constitute

contemptible conduct. Indeed, Seery and Highland incurred no expenses at all as

the result of the Seery Motion, because it was immediately denied without any claim

against Seery being filed. Accordingly, under the most logical and contextually

appropriate meaning of the term, none of the Appellants “pursued” a claim against

Seery.

         Yet even under the District Court’s improperly expansive definition, Dondero

did not “pursue” any claim against Seery because Dondero never even “tried” to sue

Seery. The fact remains that Dondero did not authorize the filing of the Seery

Motion. And the evidence is undisputed that Dondero was not involved in the

decision to file that Motion. (Dondero Br. 28) Importantly, Highland does not

suggest otherwise.




                                            14
       Case: 22-11036      Document: 89    Page: 19    Date Filed: 05/12/2023




      Instead, Highland claims that Dondero can be held liable for actions he

undertook that had nothing to do with the filing of the Seery Motion, including: (1)

“sparking” the initial “investigation” into “Seery’s alleged improper conduct

concerning the HarbourVest Settlement;” and (2) communicating “with the Sbaiti

Firm” concerning the Original Complaint that named only Highland—along with

Dondero’s possible knowledge that “the Seery Motion would be filed.” (Highland

Br. 4; see also id. 46) But even if true, none of those accusations could constitute

violations of the gatekeeping order.

      The only litigation that Dondero actually “sparked” concerned the original

lawsuit against Highland—not the Seery Motion. There is no evidence that Dondero

ordered or authorized the filing of the Seery Motion, or that he intended for it to be

filed. And contrary to what Highland insists, such intent cannot be inferred from the

mere fact that the original complaint against Highland “mentioned” Seery’s conduct.

(Highland Br. 11, quoting ROA.580) The mere mention of Seery did not suggest

that the original complaint was some planned precursor to something else. On the

contrary, the complaint’s passages about Seery’s behavior suggest that the DAF

Appellants could have named Seery as a defendant but chose not to—indicating that

the plan was to challenge Seery’s conduct without bringing suit against Seery

himself and risk running afoul of the gatekeeping order. And even if Dondero

subjectively desired for the DAF Appellants to take the case further, or even “knew”


                                          15
       Case: 22-11036      Document: 89     Page: 20     Date Filed: 05/12/2023




or “was ‘aware’” that the Seery Motion would be filed (Highland Br. 4, 17, quoting

ROA.11451), such desire and knowledge cannot support a contempt order when the

evidence is undisputed that Dondero did not take any action to further that supposed

desire—much less take “every action necessary” to do so. (See Dondero Br. 28,

quoting ROA.12261, emphasis added)

      For similar reasons, the fact that Dondero participated in the “investigation”

that preceded the filing of the original complaint against Highland cannot constitute

the “pursuit” of any later claim against Seery in violation of the gatekeeping order.

It is ultimately immaterial whether Dondero “precipitated,” “guided,” or “drove”

that initial investigation, or that he spoke with the Sbaiti Firm “[h]alf a dozen times”

and reviewed “versions” of the original complaint against Highland before it was

filed. (Highland Br. 16-17) That complaint did not name Seery and therefore did not

violate the gatekeeping order, and it was not a basis for the contempt motion or

show-cause order. And there is no contention that Dondero engaged in any

participation, conversations, review, or spearheading regarding the filing of the

Seery Motion. Yet even if he did, Highland acknowledges that such preliminary

activities as “researching” and “conferring with … attorneys” cannot constitute

violations of the gatekeeping order—even if those activities did relate to the Seery

Motion. (Highland Br. 25) That precludes Highland from seeking to hold, and the

courts below from holding, Dondero in contempt for any such preliminary activities.


                                          16
        Case: 22-11036      Document: 89     Page: 21    Date Filed: 05/12/2023




III.   The amount of the sanction is excessive and impermissible.

       Highland’s effort to overcome the numerous flaws in the Bankruptcy Court’s

windfall sanctions award are also unavailing.

       The first of these flaws concerns the Bankruptcy Court’s decision to award

$239,655 in attorney’s fees that, as Dondero has shown, vastly exceed what was

necessary to compensate Highland for the only conduct alleged to violate the

gatekeeping order—the filing of the Seery Motion. (Dondero Br. 33) In response,

Highland does not even deny the fee’s excessiveness. Nor does it dispute that a

compensatory fee award must be “measured in some degree by the pecuniary injury

caused by the act of disobedience.” (Dondero Br. 32, quoting Ravango Americas

L.L.C. v. Vinmar Int’l Ltd., 832 F. App’x 249, 255 (5th Cir. 2020) (per curiam)) But

Highland makes no attempt to demonstrate that it suffered any degree of pecuniary

harm from the filing of the Seery Motion. And it cannot, given that it was not even

required to respond to that Motion. (See Dondero Br. 33) Highland’s failure to

connect the fee awarded to actual pecuniary harm alone makes the fee excessive.

       Although Highland tries to justify its entitlement to the fee based on its “right”

to enforce the gatekeeping order and recover its “cost for enforcing” that order

(Highland Br. 48), that justification falls flat when Highland does not even try to

demonstrate that the hundreds of thousands of dollars the Bankruptcy Court awarded

actually represented the “reasonable expenses” necessarily incurred in “presenting



                                           17
       Case: 22-11036      Document: 89     Page: 22     Date Filed: 05/12/2023




the contempt for the judgment of the court” (Dondero Br. 33, quoting Clark v.

Boynton, 362 F.2d 992, 993 (5th Cir. 1966)) Nor could it, given that enforcing the

gatekeeping order required nothing more than a “simple” motion for contempt, in

which “[t]here is really very little, if anything, in dispute.” (Dondero Br. 34, quoting

ROA.594, 11530) Indeed, Highland nowhere denies that the bulk of its fees had

nothing to do with the enforcement effort itself, but instead were incurred in trying

to pin the blame for the Seery Motion on Dondero and thereby ensure that Dondero

experienced consequences for his alleged involvement in it—a vindictive and purely

punitive purpose that went far beyond what was necessary to enforce the gatekeeping

order and present the contempt motion to the Bankruptcy Court.

      Similarly unavailing are Highland’s attempts to purge the fee award of that

obvious and impermissibly punitive purpose. Highland relies entirely on the

Bankruptcy Court’s conclusory statement that the “purpose of the award was to ‘(1)

compel or coerce obedience of the order; and (2) compensate the Debtor/estate for

losses resulting from the Alleged Contemnors’ non-compliance with the court

orders.’” (Highland Br. 49, quoting ROA.600) But Highland ignores that “the stated

purposes of the sanction … cannot be determinative” in assessing whether a sanction

is civil or criminal; that assessment must be made from “an examination of the

character of the relief itself.” (Dondero Br. 36, quoting Alberti, 46 F.3d at 1359) And

the character of the relief provided in the sanctions award can only be considered


                                          18
       Case: 22-11036      Document: 89     Page: 23     Date Filed: 05/12/2023




punitive because it did not seek to “compel or coerce” obedience through a daily fine

(Dondero Br. 35), and went far beyond what was necessary to compensate Highland

for any actual “losses resulting” from Appellants’ alleged non-compliance. The

award therefore remains punitive, and that provides yet another reason to overturn

it.

      Highland also offers nothing to overcome the glaring gaps in the proof it

offered to establish the reasonableness of its fees. It nowhere denies that it failed to

provide proof of the reasonableness of its fees to the Bankruptcy Court. It also offers

no authority to suggest that attorney’s fees can be awarded in the absence of such

proof of reasonableness.

      And Highland’s efforts to distinguish Dondero’s own authorities are

unavailing. In Wegner v. Standard Ins. Co., 129 F.3d 814 (5th Cir. 1997), for

example, the Court upheld the award of fees despite the fee applicant’s “inadequate”

documentation (Highland Br. 52-53, quoting 129 F.3d at 822-23), only because the

applicant’s documentation was adequate where it counted: It submitted “an affidavit

from legal counsel” reflecting that the fees were “reasonable and necessary in the

prosecution of the case.” 129 F.3d at 823. The Court noted that “[u]nder these

circumstances”—i.e., only where the prevailing party had offered at least some proof

of reasonableness—the trial court could conclude that the amount of fees was

reasonable based on its “familiarity with the legal work being done,” and it would


                                          19
       Case: 22-11036      Document: 89    Page: 24       Date Filed: 05/12/2023




be up to the opposing party to explain “why or how the total number of hours claimed

were not reasonable.” Id. But nothing in Wegner suggests that a trial court can

permissibly award fees in the absence of any proof of reasonableness or that such

reasonableness can be gleaned solely from the court’s familiarity with the parties’

legal work. On the contrary, this Court made clear that the “fee applicant” retains

“the burden to submit adequate documentation of the hours reasonably expended.”

Id. at 822. And Highland failed to satisfy that burden.

      The result in Payne v. University of Southern Mississippi, 661 F. App’x 384

(5th Cir. 2017), similarly hinged on proof of reasonableness that Highland failed to

provide. While the Court determined that the fee applicant in that case could prove

the amount of its fee through “lengthy charts” showing the tasks performed and the

time spent on each (Highland Br. 53, quoting 681 F. App’x at 390), the only reason

the Court could determine that the time constituted “reasonable hours” (id.) was

because the fee applicant provided more than charts—it also submitted “multiple

affidavits” establishing the “reasonableness of the fee.” 681 F. App’x at 391.

Accordingly, these cases do not “support Highland’s position” (Highland Br. 32)—

they refute it. And because Highland failed to provide similar evidence of

reasonableness, the fee award must be reversed for this additional reason.




                                          20
       Case: 22-11036     Document: 89    Page: 25    Date Filed: 05/12/2023




                                  CONCLUSION
      For the reasons stated above and in Dondero’s opening brief, the Bankruptcy

Court’s order of contempt and sanction of $239,655, and the District Court’s

affirmance of that order and award, should be reversed.

                                          Respectfully submitted,
                                          /s/ Jeffrey S. Levinger
                                          Jeffrey S. Levinger
                                          jlevinger@levingerpc.com
                                          J. Carl Cecere (of counsel)
                                          ccecere@cecerepc.com
                                          Levinger PC
                                          1700 Pacific Ave., Suite 2390
                                          Dallas, Texas 75201
                                          Telephone: 214-855-6817
                                          Facsimile: 214-817-4509

                                          Attorneys for Appellant
                                          James Dondero




                                         21
       Case: 22-11036      Document: 89     Page: 26    Date Filed: 05/12/2023




                             CERTIFICATE OF SERVICE

       The undersigned certifies that on May 12, 2023, the foregoing reply brief was
electronically filed with the Clerk of the Court for the United States Court of Appeals
for the Fifth Circuit by using the Appellate CM-ECF System. Participants in this
case who are registered CM-ECF users will be served electronically by the Appellate
CM-ECF System. Other participants will be served by e-mail.

                                            /s/ Jeffrey S. Levinger
                                            Jeffrey S. Levinger




    CERTIFICATE REGARDING PRIVACY REDACTIONS AND VIRUS SCANNING

      The undersigned certifies that: (1) all required privacy redactions have been
made in this brief, in compliance with 5TH CIR. R. 25.2.13; (2) the electronic
submission is an exact copy of the paper document, in compliance with 5TH CIR. R.
25.2.1; and (3) the document has been scanned for viruses with the most recent
version of a commercial virus scanning program and is free of viruses.

                                            /s/ Jeffrey S. Levinger
                                            Jeffrey S. Levinger




                                          22
      Case: 22-11036    Document: 89     Page: 27    Date Filed: 05/12/2023




         CERTIFICATE OF COMPLIANCE WITH TYPE-VOLUME LIMIT

             Certificate of Compliance with Type-Volume Limit,
            Typeface Requirements, and Type-Style Requirements

1.   This reply brief complies with the type-volume limit of FED. R. APP. P. 32
     (a)(7)(B) because, excluding the parts of the brief exempted by FED. R. APP.
     P. 32(f):

          it contains 4,511 words.

2.   This reply brief complies with the typeface requirements of FED. R. APP. P.
     32(a)(5) and the type-style requirements of FED. R. APP. P. 32(a)(6) because:
          it has been prepared in a proportionally spaced typeface using
           Microsoft Word 2013 in 14 pt. Times New Roman (and 13 pt. for
           footnotes).

                                         /s/ Jeffrey S. Levinger
                                         Jeffrey S. Levinger

                                         Attorney of Record
                                         for Appellant James Dondero

                                         May 12, 2023




                                       23
